         Case 2:19-cv-04565-CFK Document 1 Filed 09/11/18 Page 1 of 15



THE ROSEN LAW FIRM, P.A.
Laurence M. Rosen, Esq.
609 W. South Orange Avenue, Suite 2P
South Orange, NJ 07079
Tel: (973) 313-1887
Fax: (973) 833-0399
Email: lrosen@rosenlegal.com

Counsel for Plaintiff

                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY

 STÉPHANE GOUET, Individually and On                 Case No.
 Behalf of All Others Similarly Situated,
                                                     CLASS ACTION COMPLAINT FOR
        Plaintiff,                                   VIOLATION OF THE FEDERAL
                                                     SECURITIES LAWS
        v.
                                                     JURY TRIAL DEMANDED
 USA TECHNOLOGIES, INC., STEPHEN P.
 HERBERT, and PRIYANKA SINGH,

        Defendants.


       Plaintiff Stéphane Gouet (“Plaintiff”) individually and on behalf of all other persons

similarly situated, by Plaintiff’s undersigned attorneys, for Plaintiff’s complaint against

Defendants (defined below), alleges the following based upon personal knowledge as to Plaintiff

and Plaintiff’s own acts, and upon information and belief as to all other matters based on the

investigation conducted by and through Plaintiff’s attorneys, which included, among other things,

a review of Securities and Exchange Commission (“SEC”) filings by USA Technologies, Inc.

(“USA Technologies” or the “Company”), as well as media and analyst reports about the

Company. Plaintiff believes that substantial evidentiary support will exist for the allegations set

forth herein after a reasonable opportunity for discovery.




                                                 1
            Case 2:19-cv-04565-CFK Document 1 Filed 09/11/18 Page 2 of 15



                                   NATURE OF THE ACTION

       1.       This is a federal securities class action on behalf of a class consisting of all persons

and entities, other than Defendants and their affiliates, who purchased publicly traded USA

Technologies securities from November 9, 2017 through September 11, 2018, both dates inclusive

(“Class Period”), seeking to recover compensable damages caused by Defendants’ violations of

federal securities laws and pursue remedies under the Securities Exchange Act of 1934 (the

“Exchange Act”).

                                  JURISDICTION AND VENUE

       2.       The claims asserted herein arise under and pursuant to Sections 10(b) and 20(a) of

the Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder (17

C.F.R. § 240.10b-5).

       3.       This Court has jurisdiction over the subject matter of this action pursuant to Section

27 of the Exchange Act (15 U.S.C. § 78aa) and 28 U.S.C. § 1331.

       4.       Venue is proper in this District pursuant to Section 27 of the Exchange Act (15

U.S.C. § 78aa) and 28 U.S.C. § 1391(b) as the alleged misstatements entered and the subsequent

damages took place in this District.

       5.       In connection with the acts, conduct and other wrongs alleged herein, Defendants

either directly or indirectly used the means and instrumentalities of interstate commerce, including

but not limited to the United States mails, interstate telephone communications, and the facilities

of the national securities exchange.




                                                   2
            Case 2:19-cv-04565-CFK Document 1 Filed 09/11/18 Page 3 of 15



                                            PARTIES

       6.       Plaintiff, as set forth in the accompanying PSLRA Certification, acquired USA

Technologies securities at artificially inflated prices during the Class Period and was damaged

upon the revelation of the alleged corrective disclosures.

       7.       Defendant USA Technologies provides wireless networking, cashless transactions,

asset monitoring, and other value-added services in the United States and internationally. It is a

Pennsylvania corporation. USA Technologies securities trade on NASDAQ under the symbol

“USAT.”

       8.       Defendant Stephen P. Herbert (“Herbert”) has served as the Company’s Chairman

and Chief Executive Officer (“CEO”) since November 30, 2011.

       9.       Defendant Priyanka Singh (“Singh”) has served as the Company’s Chief Financial

Officer (“CFO”) since March 31, 2017.

       10.      Defendants Herbert and Singh are herein referred to as “Individual Defendants.”

       11.      Collectively, Defendant USA Technologies and Individual Defendants are herein

referred to as “Defendants.”

       12.      Each of the Individual Defendants:

                a.     directly participated in the management of the Company;

                b.     was directly involved in the day-to-day operations of the Company at the

                       highest levels;

                c.     was privy to confidential proprietary information concerning the Company

                       and its business and operations;




                                                 3
          Case 2:19-cv-04565-CFK Document 1 Filed 09/11/18 Page 4 of 15



               d.     was directly or indirectly involved in drafting, producing, reviewing and/or

                      disseminating the false and misleading statements and information alleged

                      herein;

               e.     was directly or indirectly involved in the oversight or implementation of the

                      Company’s internal controls;

               f.     was aware of or recklessly disregarded the fact that the false and misleading

                      statements were being issued concerning the Company; and/or

               g.     approved or ratified these statements in violation of the federal securities

                      laws.

       13.     USA Technologies is liable for the acts of the Individual Defendants and its

employees under the doctrine of respondeat superior and common law principles of agency as all

of the wrongful acts complained of herein were carried out within the scope of their employment

with authorization.

       14.     The scienter of the Individual Defendants and other employees and agents of the

Company is similarly imputed to USA Technologies under respondeat superior and agency

principles.

                                SUBSTANTIVE ALLEGATIONS
                                          Background

       15.     The Company filed a Form 10-K with the SEC on or around August 23, 2017,

which provided the Company’s financial results and position for the fiscal year ended 2017 (the

“2017 10-K”). The 2017 10-K stated that the Company’s internal controls over financial reporting

were effective as of June 30, 2017.




                                                4
          Case 2:19-cv-04565-CFK Document 1 Filed 09/11/18 Page 5 of 15



                  Defendants’ False and Misleading Class Period Statements

       16.     On November 9, 2017, the Company filed a Form 10-Q for the quarter ended

September 30, 2018 (the “1Q 2018 10-Q”) with the SEC, which provided the Company’s first

quarter 2018 financial results and position. The 1Q 2018 10-Q was signed by Defendants Herbert

and Singh. The 1Q 2018 10-Q contained signed certifications pursuant to the Sarbanes-Oxley Act

of 2002 (“SOX”) by Defendants Herbert and Singh attesting to the accuracy of financial reporting,

the disclosure of any material changes to the Company’s internal control over financial reporting

and the disclosure of all fraud.

       17.     The 1Q 2018 10-Q stated there were no changes in internal controls over financial

reporting that occurred during the quarter ended September 30, 2017 that materially affected or

were reasonably likely to materially affect the Company’s internal controls over financial

reporting.

       18.     On February 9, 2018, the Company filed a Form 10-Q for the quarter ended

December 31, 2017 (the “2Q 2018 10-Q”) with the SEC, which provided the Company’s second

quarter 2018 financial results and position. The 2Q 2018 10-Q was signed by Defendants Herbert

and Singh. The 2Q 2018 10-Q contained signed SOX certifications by Defendants Herbert and

Singh attesting to the accuracy of financial reporting, the disclosure of any material changes to the

Company’s internal control over financial reporting and the disclosure of all fraud.

       19.     The 2Q 2018 10-Q stated there were no changes in internal controls over financial

reporting that occurred during the quarter ended December 31, 2017 that materially affected or

were reasonably likely to materially affect the Company’s internal controls over financial

reporting.




                                                 5
           Case 2:19-cv-04565-CFK Document 1 Filed 09/11/18 Page 6 of 15



         20.   On May 10, 2018, the Company filed a Form 10-Q for the quarter ended March 31,

2018 (the “3Q 2018 10-Q”) with the SEC, which provided the Company’s third quarter 2018

financial results and position. The 3Q 2018 10-Q was signed by Defendants Herbert and Singh.

The 3Q 2018 10-Q contained signed SOX certifications by Defendants Herbert and Singh attesting

to the accuracy of financial reporting, the disclosure of any material changes to the Company’s

internal control over financial reporting and the disclosure of all fraud.

         21.   The 3Q 2018 10-Q stated there were no changes in internal controls over financial

reporting that occurred during the quarter ended March 31, 2018 that materially affected or were

reasonably likely to materially affect the Company’s internal controls over financial reporting.

         22.   The statements referenced in ¶¶16-21 above were materially false and/or

misleading because they failed to disclose the following adverse facts pertaining to the Company’s

business and operations which were known to Defendants or recklessly disregarded by them.

Specifically, Defendants made false and/or misleading statements and/or failed to disclose that:

(1) USA Technologies’ treatment of contractual arrangements in its financial statements would

result in an internal investigation and delay the filing of its annual report for fiscal year 2018; (2)

consequently, USA Technologies’ internal controls over financial reporting were weak and

deficient; (3) as a result, Defendants’ statements about USA Technologies’ business, operations

and prospects were materially false and misleading and/or lacked a reasonable basis at all relevant

times.

                                   The Truth Begins to Emerge

         23.   On September 11, 2018, USA Technologies disclosed that it was unable to timely

file its Form 10-K with the SEC for the fiscal year ended June 30, 2018 as it was “conducting an

internal investigation of current and prior period matters relating to certain of the Company’s




                                                  6
         Case 2:19-cv-04565-CFK Document 1 Filed 09/11/18 Page 7 of 15



contractual arrangements, including the accounting treatment, financial reporting and internal

controls related to such arrangements.” The Form 8-K stated, in relevant part:

             USA Technologies, Inc. to Delay Form 10-K Filing for Fiscal Year 2018

       MALVERN, Pa., September 11, 2018 -- USA Technologies, Inc.
       (NASDAQ:USAT) (the “Company”), a premier digital payment, consumer
       engagement and logistics service provider for the self-service retail market, today
       announced that it will not file its Annual Report on Form 10-K for the fiscal year
       ended June 30, 2018 (the “Annual Report”) by the September 13, 2018 due date.
       The Company will file a Form 12b-25, Notification of Late Filing, with the
       Securities and Exchange Commission (the “SEC”) to provide it with a 15 calendar
       day extension within which to file the Annual Report.

       The Audit Committee of the Company’s Board of Directors, with the assistance of
       independent legal and forensic accounting advisors, is in the process of conducting
       an internal investigation of current and prior period matters relating to certain of
       the Company’s contractual arrangements, including the accounting treatment,
       financial reporting and internal controls related to such arrangements. The Audit
       Committee is working closely with its advisors to complete its investigation in as
       timely a manner as possible. The Company will not be in a position to file its Form
       10-K until the Audit Committee completes its investigation and the Company and
       its independent auditor assess the results of that investigation.

       24.      On this news, shares of USA Technologies fell $5.74 per share or over 37% during

intraday trading on September 11, 2018.

       25.      As a result of Defendants’ wrongful acts and omissions, and the precipitous decline

in the market value of the Company’s common shares, Plaintiff and other Class members have

suffered significant losses and damages.

                      PLAINTIFF’S CLASS ACTION ALLEGATIONS

       26.      Plaintiff brings this action as a class action pursuant to Federal Rule of Civil

Procedure 23(a) and (b)(3) on behalf of a Class, consisting of all those who purchased or otherwise

acquired the publicly traded securities of USA Technologies during the Class Period (the “Class”);

and were damaged upon the revelation of the alleged corrective disclosure. Excluded from the

Class are Defendants herein, the officers and directors of the Company, at all relevant times,



                                                 7
          Case 2:19-cv-04565-CFK Document 1 Filed 09/11/18 Page 8 of 15



members of their immediate families and their legal representatives, heirs, successors or assigns

and any entity in which Defendants have or had a controlling interest.

        27.     The members of the Class are so numerous that joinder of all members is

impracticable. Throughout the Class Period, the Company’s securities were actively traded on

NASDAQ. While the exact number of Class members is unknown to Plaintiff at this time and can

be ascertained only through appropriate discovery, Plaintiff believes that there are hundreds or

thousands of members in the proposed Class. Record owners and other members of the Class may

be identified from records maintained by the Company or its transfer agent and may be notified of

the pendency of this action by mail, using the form of notice similar to that customarily used in

securities class actions.

        28.     Plaintiff’s claims are typical of the claims of the members of the Class as all

members of the Class are similarly affected by Defendants’ wrongful conduct in violation of

federal law that is complained of herein.

        29.     Plaintiff will fairly and adequately protect the interests of the members of the Class

and has retained counsel competent and experienced in class and securities litigation. Plaintiff has

no interests antagonistic to or in conflict with those of the Class.

        30.     Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among the

questions of law and fact common to the Class are:

        (a)     whether Defendants’ acts as alleged violated the federal securities laws;

        (b)     whether Defendants’ statements to the investing public during the Class Period

                misrepresented material facts about the financial condition, business, operations,

                and management of the Company;




                                                  8
         Case 2:19-cv-04565-CFK Document 1 Filed 09/11/18 Page 9 of 15



       (c)     whether Defendants’ statements to the investing public during the Class Period

               omitted material facts necessary to make the statements made, in light of the

               circumstances under which they were made, not misleading;

       (d)     whether the Individual Defendants caused the Company to issue false and

               misleading SEC filings and public statements during the Class Period;

       (e)     whether Defendants acted knowingly or recklessly in issuing false and misleading

               SEC filings and public statements during the Class Period;

       (f)     whether the prices of the Company’s securities during the Class Period were

               artificially inflated because of the Defendants’ conduct complained of herein; and

       (g)     whether the members of the Class have sustained damages and, if so, what is the

               proper measure of damages.

       31.     A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable. Furthermore, as the

damages suffered by individual Class members may be relatively small, the expense and burden

of individual litigation make it impossible for members of the Class to individually redress the

wrongs done to them. There will be no difficulty in the management of this action as a class action.

       32.     Plaintiff will rely, in part, upon the presumption of reliance established by the fraud-

on-the-market doctrine in that:

       (a)     Defendants made public misrepresentations or failed to disclose material facts

               during the Class Period;

       (b)     the omissions and misrepresentations were material;

       (c)     the Company’s securities are traded in efficient markets;




                                                  9
         Case 2:19-cv-04565-CFK Document 1 Filed 09/11/18 Page 10 of 15



        (d)     the Company’s securities were liquid and traded with moderate to heavy volume

                during the Class Period;

        (e)     the Company traded on the NASDAQ, and was covered by multiple analysts;

        (f)     the misrepresentations and omissions alleged would tend to induce a reasonable

                investor to misjudge the value of the Company’s securities; Plaintiff and members

                of the Class purchased and/or sold the Company’s securities between the time the

                Defendants failed to disclose or misrepresented material facts and the time the true

                facts were disclosed, without knowledge of the omitted or misrepresented facts; and

        (g)     Unexpected material news about the Company was rapidly reflected in and

                incorporated into the Company’s stock price during the Class Period.

        33.     Based upon the foregoing, Plaintiff and the members of the Class are entitled to a

presumption of reliance upon the integrity of the market.

        34.     Alternatively, Plaintiff and the members of the Class are entitled to the presumption

of reliance established by the Supreme Court in Affiliated Ute Citizens of the State of Utah v.

United States, 406 U.S. 128, 92 S. Ct. 2430 (1972), as Defendants omitted material information in

their Class Period statements in violation of a duty to disclose such information, as detailed above.

                                           COUNT I
                Violation of Section 10(b) of The Exchange Act and Rule 10b-5
                                    Against All Defendants

        35.     Plaintiff repeats and realleges each and every allegation contained above as if fully

set forth herein.

        36.     This Count is asserted against the Company and the Individual Defendants and is

based upon Section 10(b) of the Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated

thereunder by the SEC.




                                                 10
         Case 2:19-cv-04565-CFK Document 1 Filed 09/11/18 Page 11 of 15



       37.      During the Class Period, the Company and the Individual Defendants, individually

and in concert, directly or indirectly, disseminated or approved the false statements specified

above, which they knew or deliberately disregarded were misleading in that they contained

misrepresentations and failed to disclose material facts necessary in order to make the statements

made, in light of the circumstances under which they were made, not misleading.

       38.     The Company and the Individual Defendants violated §10(b) of the 1934 Act and

Rule 10b-5 in that they: employed devices, schemes and artifices to defraud; made untrue

statements of material facts or omitted to state material facts necessary in order to make the

statements made, in light of the circumstances under which they were made, not misleading; and/or

engaged in acts, practices and a course of business that operated as a fraud or deceit upon plaintiff

and others similarly situated in connection with their purchases of the Company’s securities during

the Class Period.

       39.     The Company and the Individual Defendants acted with scienter in that they knew

that the public documents and statements issued or disseminated in the name of the Company were

materially false and misleading; knew that such statements or documents would be issued or

disseminated to the investing public; and knowingly and substantially participated, or acquiesced

in the issuance or dissemination of such statements or documents as primary violations of the

securities laws. These defendants by virtue of their receipt of information reflecting the true facts

of the Company, their control over, and/or receipt and/or modification of the Company’s allegedly

materially misleading statements, and/or their associations with the Company which made them

privy to confidential proprietary information concerning the Company, participated in the

fraudulent scheme alleged herein.




                                                 11
         Case 2:19-cv-04565-CFK Document 1 Filed 09/11/18 Page 12 of 15



        40.     Individual Defendants, who are the senior officers and/or directors of the

Company, had actual knowledge of the material omissions and/or the falsity of the material

statements set forth above, and intended to deceive Plaintiff and the other members of the Class,

or, in the alternative, acted with reckless disregard for the truth when they failed to ascertain and

disclose the true facts in the statements made by them or other personnel of the Company to

members of the investing public, including Plaintiff and the Class.

        41.     As a result of the foregoing, the market price of the Company’s securities was

artificially inflated during the Class Period. In ignorance of the falsity of the Company’s and the

Individual Defendants’ statements, Plaintiff and the other members of the Class relied on the

statements described above and/or the integrity of the market price of the Company’s securities

during the Class Period in purchasing the Company’s securities at prices that were artificially

inflated as a result of the Company’s and the Individual Defendants’ false and misleading

statements.

        42.     Had Plaintiff and the other members of the Class been aware that the market price

of the Company’s securities had been artificially and falsely inflated by the Company’s and the

Individual Defendants’ misleading statements and by the material adverse information which the

Company’s and the Individual Defendants did not disclose, they would not have purchased the

Company’s securities at the artificially inflated prices that they did, or at all.

        43.     As a result of the wrongful conduct alleged herein, Plaintiff and other members of

the Class have suffered damages in an amount to be established at trial.

        44.     By reason of the foregoing, the Company and the Individual Defendants have

violated Section 10(b) of the 1934 Act and Rule 10b-5 promulgated thereunder and are liable to




                                                   12
         Case 2:19-cv-04565-CFK Document 1 Filed 09/11/18 Page 13 of 15



the Plaintiff and the other members of the Class for substantial damages which they suffered in

connection with their purchases of the Company’s securities during the Class Period.

                                            COUNT II
                         Violation of Section 20(a) of The Exchange Act
                               Against the Individual Defendants

       45.     Plaintiff repeats and realleges each and every allegation contained in the foregoing

paragraphs as if fully set forth herein.

       46.     During the Class Period, the Individual Defendants participated in the operation

and management of the Company, and conducted and participated, directly and indirectly, in the

conduct of the Company’s business affairs. Because of their senior positions, they knew the

adverse non-public information regarding the Company’s business practices.

       47.     As officers and/or directors of a publicly owned company, the Individual

Defendants had a duty to disseminate accurate and truthful information with respect to the

Company’s financial condition and results of operations, and to correct promptly any public

statements issued by the Company which had become materially false or misleading.

       48.     Because of their positions of control and authority as senior officers, the Individual

Defendants were able to, and did, control the contents of the various reports, press releases and

public filings which the Company disseminated in the marketplace during the Class Period.

Throughout the Class Period, the Individual Defendants exercised their power and authority to

cause the Company to engage in the wrongful acts complained of herein. The Individual

Defendants therefore, were “controlling persons” of the Company within the meaning of Section

20(a) of the Exchange Act. In this capacity, they participated in the unlawful conduct alleged which

artificially inflated the market price of the Company’s securities.




                                                 13
         Case 2:19-cv-04565-CFK Document 1 Filed 09/11/18 Page 14 of 15



       49.     Each of the Individual Defendants, therefore, acted as a controlling person of the

Company. By reason of their senior management positions and/or being directors of the Company,

each of the Individual Defendants had the power to direct the actions of, and exercised the same

to cause, the Company to engage in the unlawful acts and conduct complained of herein. Each of

the Individual Defendants exercised control over the general operations of the Company and

possessed the power to control the specific activities which comprise the primary violations about

which Plaintiff and the other members of the Class complain.

       50.     By reason of the above conduct, the Individual Defendants are liable pursuant to

Section 20(a) of the Exchange Act for the violations committed by the Company.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff demands judgment against Defendants as follows:

       A.      Determining that the instant action may be maintained as a class action under Rule

23 of the Federal Rules of Civil Procedure, and certifying Plaintiff as the Class representative;

       B.      Requiring Defendants to pay damages sustained by Plaintiff and the Class by reason

of the acts and transactions alleged herein;

       C.      Awarding Plaintiff and the other members of the Class prejudgment and post-

judgment interest, as well as their reasonable attorneys’ fees, expert fees and other costs; and

       D.      Awarding such other and further relief as this Court may deem just and proper.

                               DEMAND FOR TRIAL BY JURY

       Plaintiff hereby demands a trial by jury.



Dated: September 11, 2018                      Respectfully submitted,

                                               THE ROSEN LAW FIRM, P.A.

                                               By: /s/Laurence M. Rosen


                                                   14
Case 2:19-cv-04565-CFK Document 1 Filed 09/11/18 Page 15 of 15



                            Laurence M. Rosen
                            609 W. South Orange Avenue, Suite 2P
                            South Orange, NJ 07079
                            Tel: (973) 313-1887
                            Fax: (973) 833-0399
                            Email: lrosen@rosenlegal.com

                            Counsel for Plaintiff




                              15
